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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

In Re: GIVENS, BRERNDA JEAN                                  Case No.: 21-30520KKS

     Debtor                                                  Chapter         7
_______________________________//

CHAPTER 7 TRUSTEE’S AMENDED APPLICATION FOR AUTHORITY
 AND APPROVAL TO EMPLOY VICTOR ZAVALA AND SIMMONS
 REALTY GROUP AND TO APPROVE LISTING AGREEMENT FOR
                SALE OF REAL PROPERTY

      COMES NOW the Chapter 7 Trustee, Sherry Chancellor, and pursuant to 11

U.S.C. § 327, states as follows:

      1. Sherry Chancellor, is the duly qualified and acting Chapter 7 Trustee of

         the bankruptcy estate of BRENDA JEAN GIVENS .

      2. VICTOR ZAVALA a member of Simmons Realty Group (jointly

         referenced herein as “Local Listing Broker”) has the expertise and

         knowledge to assist the Chapter 7 Trustee with the listing of the sale of the

         real property located at 738 Carondelay Drive, Pensacola, Florida 32506,

         and which is legally described as follows:

         LT 1 BLK A LL-FAIR EST 2ND ADDN PB 9 P74 OR 8132 P1752
         Escambia County, Florida

         hereinafter referred to as the “Real Property”.

      3. The Debtor has not declared the Real Property as exempt.
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4. The Chapter 7 Trustee desires to employ the Local Listing Broker to

   provide professional services on behalf of this bankruptcy estate fore the

   list and sale of the Real Property identified herein, in which the above-

   named Debtor holds an interest. The Local Listing Broker is requesting a

   commission of six percent (6%) of the gross sales proceeds. All fees and

   expenses will be presented to the Court for approval prior to payment.

5. Attached hereto as Exhibit “A” is the duly executed and verified statement

   of on behalf of the Local Listing Broker that their employees and members

   are disinterested parties, as the term is used in the Bankruptcy Code, do

   not hold any interests adverse to the Bankruptcy Estate, is not aware of any

   connection with the Debtor, creditors, any other party in interest, their

   respective attorneys or accountants, the United States Trustee or any

   person employed by the Office of the United States Trustee and

   understands that there is a continuing duty to disclose any such adverse

   interest.

6. Notice of this Application is being served upon the Office of the United

   States Trustee, the Debtor’s Counsel, and all parties requesting notice in

   this matter.
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      7. Attached hereto as Exhibit “B” is a copy of the Listing Agreement and the

         Chapter 7 Trustee requests that the Court approve this Agreement, which

         the Chapter 7 Trustee has executed on behalf of this Bankruptcy Estate.

      8. BK Global Real Estate Services (“BK Global”) has been retained by the

         Chapter 7 Trustee and BK Global has agreed to fully cooperate with the

         Local Listing Broker, and to be paid the real estate commission agreed to

         by the Secured Creditor.

      9. First Commerce Credit Union claims a mortgage interest in and to the Real

         Property known as 738 Carondelay Drive, Pensacola, Florida 32506 and

         has consented to the sale of the real property subject to their security

         interest.

      WHEREFORE, the Trustee respectfully prays that this Court will enter an

Order and therein to approve this Application and authorize the employment

of Victor Zavala and The Simmons Realty Group to perform professional

services on behalf of the Bankruptcy Estate, approve the listing of the sale of the

real property located at 903 Indian Place, Havana, Florida, in which the Debtor



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holds an ownership interest, and any such other and further relief that this Court

may deem just and proper.




                                       /s/ SHERRY F. CHANCELLOR
                                      SHERRY F. CHANCELLOR
                                      619 West Chase St.
                                      Pensacola, Florida 32502
                                      (850) 436-8445
                                      Fla Bar No.: 434574

                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been furnished to
Brenda Jean Givens c/o Timothy A. Weaver at Tim@wwcattorneys.com and
William J. Simontisch, Assistant United States Trustee,
USTPRegion21.TL.ECF@usdoj.gov Electronically and to Everett Financial LLC.
dba Supreme Lend, C/O Gavin Stewart, Esquire at bk@stewartlegalgroup.com this
the 12th day of November 2021.


                                      /s/Sherry Fowler Chancellor____________
                                      SHERRY FOWLER CHANCELLOR
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